       Case 3:13-cr-03481-BTM                         Document 639                  Filed 12/21/15               PageID.2938                Page 1 of 5

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     'AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
                Sheet 1
                                                                                                                                      I DEC 21 2015
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                                                                                                                            ~I;..~$ UJS; Qjl:i:1iIR~CT COURT
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                                                                                                                                                                  IJIEI?UTY
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                         v.                                         (For Offenses Committed On or After November I, 1987)

                          VAHAG STEPANYAN [2]                                       Case Number: 13CR3481-BTM
                                                                                    TODD LEVENTHAL
                                                                                    Defendant's Attorney
     REGISTRATION NO. 48405048

    o
     THE DEFENDANT:
     ~ pleadedguiltytocount(s)_I_O:...F_T_H_E_IN_D_I_C_TM_E_N_T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o     was found guilty on count(s)' _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             Numberls)
18 USC 1349                           CONSPIRACY TO COMMIT BANK FRAUD




        The defendant is sentenced as _provided in pages 2 through     5    of this judgment. The sentence is imposed pursuant
 to the Sentencing Refonn Act of 1984.
 D    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 ~ COllnt(s) REMAINING COUNTS OF THE INDICTMENT                                      is   0    are ~ dismissed on the motion ofthe United States.
 181 Assessment: $100 to be paid at the rate of $25 per quarter through the Inmate Financial Responsibility Program.

 181 Fine waived                                    o      Forfeiture pursuant to order filed                                  , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               NOVEMBER 23, 2015
                                                                              Date of Imposition of Sentence


                                                                               ~j)~Jd                 D MOSKOWITZ                 /




                                                                                                                                              13CR348 I -BTM
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AO 245B (CASD) (Rev. 4114)   Judgment in a Criminal Case
            Sheet 2 - Imprisonment

                                                                                              Judgment - Page     2     of   _ _-,5,-_ _
 DEFENDANT: VAHAG STEPANY AN [2]
 CASE NUMBER: 13CR3481.BTM
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         THIRTY·THREE (33) MONTHS




    o    Sentence imposed pursuant to Title 8USC Section 1326(b).                            u'44y--w. ~~
                                                                                             BARRY ED MOSKOWITZ
    181 The court makes the following recommendations to the Bureau of Prisons:               UNITED STATES DISTRICT JUDGE
         That the defendant serve his sentence as close to Las Vegas. Nevada as possible to facilitate family visits. That the defendant
         participate in the 500 hour RDAP program.



    181 The defendant is remanded to the custody ofthe United States Marshal.
    o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Oa.m.    Op.m.      on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        ------------------------------------------------
          o    as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.

                                                               RETURN
 I have executed this judgment as follows:

        Defendant delivered on                                                   to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                            UNITED STATES MARSHAL


                                                                     By _______~~~~==~~~~~---------
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                      13CR3481·BTM
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AO 2458 (CASD) (Rev.4/14) Judgment in a Criminal Case
           Sheet 3 Supervised Release
                                                                                                               Judgment-Page - L - of
DEFENDANT: VAHAG STEPANYAN [2]                                                                        II
CASE NUMBER: 13CR3481-BTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month during
the term of supervision, unless otherwise ordered by court.

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
       Backlog Elimination Act of2000 L Pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tlie requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                      13CR3481-BTM
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       AO 2458 (CASD) (Rev. 4/14) Judgment in a Criminal Case
                   Sheet 4 -   Special Conditions
                                                                                                         Judgment-Page - i . - of        5
       DEFENDANT: V AHAG STEPANY AN [2]                                                             a
       CASE NUMBER: 13CR3481-BTM




                                                SPECIAL CONDITIONS OF SUPERVISION
    Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
~ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

~ Participate in a program of alcohol abuse treatment including testing and counseling, with at least 1 to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
D   Not reenter the United States illegally.
o   Not enter the Republic of Mexico without written pennission of the Court or probation officer.
~ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
Igj Not possess any narcotic drug or controlled substance without a lawful medical prescription.
~ Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fonn.

D Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment infonnation to the probation officer and the Court by the mental health provider.


~ Make restitution to the Bank of America in the amount of$147,237.61, to be paid in installments of $200.00 per month.



~ Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of days upon release. This is a non punitive
    placement.
~ Seek and maintain full time employment and/or schooling or a combination of both.
~ Resolve all outstanding warrants within           90    days.
D Complete             hours of community service in a program approved by the probation officer within

~ Be prohibited from opening checking or credit accounts or incurring new credit charges or opening additional lines of credit without approval
    of the Probation Officer.

~ If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter or attempt to
    reenter the United States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions
    of supervision are suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.


~ The defendant shall notifY the Collections Unit, United States Attorney's Office within 10 days, of obtaining any interest in property,
    directly or indirectly, valued at $1,000 or more including any interest obtained under any other name, or entity, including a trust, partnership,
    or corporation until restitution is paid in full. The defendant shall notifY the Collections Unit, United States Attorney's Office at least 10
    days, before transferring any interest in property valued at $1,000 or more owned directly or indirectly by the Defendant, including any
    interest held or owned under any other name or entity, including a trust, partnership, and/or corporations.




                                                                                                                                    13CR3481-BTM
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AD 245S (CASD Rev. 08/13) Judgment in a Criminal Case

   DEFENDANT:             VAHAG STEPANYAN [2]                                                 Judgment - Page 5 of 5
   CASE NUMBER:           13CR3481-BTM

                                             RESTITUTION


  The defendant shall pay restitution in the amount of $147,237.61             unto the United States of America.
  For the benefit of Bank of America through the Clerk of Court




  This sum shall be due immediately. And shall be paid as follows:
  During any period of incarceration the defendant shall pay restitution through the Inmate Financial
  Responsibility Program at the rate of 50% of the defendant's income, or $25.00 per
  quarter, whichever is greater. The defendant shall pay the restitution during his
  supervised release at the rate of $200 per month ..




  The Court has determined that the defendant    does not    have the ability to pay interest. It is ordered that:
      The interest requirement is waived




                                                                                                      13CR3481-BTM
